Order Form (01/2005)
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                             United States District Court, Northern District of Illinois

    Name of Assigned Judge          Charles P. Kocoras          Sitting Judge if Other
       or Magistrate Judge                                       than Assigned Judge

   CASE NUMBER                          10 C 8227                           DATE                       2/8/2011
            CASE                                     Dinsmore et al -v- Allied Interstate, Inc.
            TITLE

  DOCKET ENTRY TEXT

  Pursuant to plaintiff’s notice of voluntary dismissal with prejudice (Doc [8]), this cause is hereby dismissed with
  prejudice. All matters in controversy having been resolved, final judgment of dismissal with prejudice is entered.




                                                                                                               Docketing to mail notices.
                                                                                                                   *Mail AO 450 form.




                                                                                         Courtroom Deputy                 SCT
                                                                                                   Initials:




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